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                          UNITED STATES BANKRUPCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 In re:                                      :       Case No.: 04-60904
                                             :
 COLUMBUS MICROFILM, INC.                    :       Chapter 7 (Converted)
                                             :
                       Debtor(s).            :       Judge Preston

          MEMORANDUM IN OPPOSITION TO MOTION TO RE-OPEN CASE TO
                   ADMINISTER ESTATE ASSETS (DOC. 349)

          NOW COMES Reg Martin, the former Receiver of the Debtor, and hereby files this

 Memorandum in Opposition to the Amended Motion to Reopen Case to Administer Estate Assets

 (the “Motion”) filed on March 11, 2016 (Doc. 349), by Angela R. Granata (“Ms. Granata”). It is

 requested that the Motion be denied as the issues raised therein were heard by this Court

 previously and were denied.

 I.       BACKGROUND

          Ms. Granata was the principal owner of the Debtor and managed the business until her

 employment was terminated by the Chapter 7 Trustee. Reg Martin of Martin Management (“Mr.

 Martin” or the “Receiver”), was appointed by the Franklin County Common Pleas Court as

 Receiver of the Debtor in March, 2004, in the case captioned Unizan Bank, N.A. v. Columbus

 Microfilm, Inc., et al., Case Number 04CVE03-2600 (the “State Court Case”).          Columbus

 Microfilm, Inc., (the “Debtor”) filed this case as a Chapter 11 proceeding on July 9, 2004, and

 the case was converted to a Chapter 7 proceeding on October 27, 2006.

          On August 5, 2013, an Ex Parte Application to Reopen Closed Case under 11 U.S.C.

 §350(B) (the “Application”) (Doc. 331), was filed by Ms. Granata. A hearing was held on

 October 1, 2013, (the “October 2013 Hearing”) on the Application (Doc. 334). The Application,

 inter alia, included some of the same allegations against Mr. Martin as set forth in the Motion.

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 One of the main issues identified in both the Application and the Motion is real estate known as

 5980 Canehill Lane, Hilliard, Ohio (the “Real Estate”). The Real Estate is a condominium and

 was the subject of a land contract. A copy of the Land Installment Contract is attached hereto as

 Exhibit A (the “Land Contract”). (The Social Security Number has been redacted although the

 Tax ID number of the entity is included. The Social Security Number is in fact listed on the

 Land Contract).

        Neither the Real Estate, nor the Land Contract, is listed in the Schedules of Assets and

 Liabilities filed by the Debtor. A review of the Land Contract references Ms. Granata as the

 Vendee. While it was clearly not a model of clear draftsmanship, the intent on the signature

 page is shown as “Angela Granata, Vendee.” This fact, coupled with the failure to list either the

 Real Estate, or the Land Contract as an asset of the Debtor, leads to the conclusion that neither

 the Real Estate, nor the Land Contract, were assets of the Debtor.

        A review of some of the Pleadings filed in the State Court Case that are attached to the

 Motion reveals that the actions of the Receiver relative to the Real Estate were served on Ms.

 Granata through her counsel, and in some instances, served on counsel for the Debtor. At no

 time did Ms. Granata, her counsel, or counsel for the Debtor even suggest that the interest in the

 Land Contract was property of the bankruptcy estate until the Application was filed (over five

 (5) years after the State Court Case was terminated).

        At the October 2013 Hearing, the Court provided Ms. Granata with the opportunity to

 present evidence on the Application. As indicated in the Order and Judgment Denying Motion to

 Reopen Closed Case entered on October 10, 2013, (Doc. 340) (“October 2013 Order”), the Court

 stated its findings and facts and conclusions of law on the record of the hearing and denied the




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 Application on the basis that Ms. Granata failed to demonstrate sufficient cause for reopening the

 Debtor’s proceeding.

        Ms. Granata, through the Motion, now seeks the same relief that was denied in October

 2013 Order. No Motion for Relief from Judgment under Rule 60(b) of the Federal Rules of Civil

 Procedure, was sought, nor was an appeal of the October 2013 Order filed. The Motion is

 essentially duplicative of what was requested in the Application filed in August 2013 which

 relief was denied by the Court.

 II.    LEGAL ANALYSIS

        A bankruptcy court may reopen a case “. . . to administer assets, to accord relief to the

 debtor, or for other cause.” 11 U.S.C. §350(b). To justify reopening a case, the likelihood of

 recovering additional assets must be substantial, Zinchiak v. Cit Small Business Lending Corp.

 (In re Zinchiak, 406F.3d 214 (3d Cir. 2005). However, a remote possibility of obtaining assets

 that would provide a meaningful distribution is justification for an order declining to reopen a

 case, In re Herzig, 96 B.R. 264 (BAP 9th Cir. 1989). Moreover, given the over twelve years

 since the commencement of the State Court Case and before this Court, laches may be invoked

 as grounds for a denial of a motion, if delay by the moving party has been unreasonable and has

 prejudiced the party opposing reopening, In re Plumblee, 236 B.R. 606 (E.D. Va. 1999).

        As this Court noted during the October 2013 Hearing, the interest in the Real Estate was

 not listed as an asset of the Debtor. While the Receiver may have been opportunistic by

 attaching his name to a sales document which he administered in the State Court Case, the

 personal attorney for Ms. Granata was served with the pleadings in the State Court Case with

 regard to the sale of the Real Estate. Pleadings in the State Court Case were provided to

 attorneys for Ms. Granata, as well as, counsel for the Debtor and no action was taken. Despite



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 being served with pleadings regarding the Real Estate, no objection was filed, no relief from any

 judgment in the State Court Case was sought, and no appeal was ever taken.

           To the extent she seeks relief from the actions taken by the Receiver, Ms. Granata must

 seek relief in the State Court Case and not in this proceeding. This Court lacks subject matter

 jurisdiction of disputes between Ms. Granata and the former Receiver for the Debtor.

           At no time during tortured history of this case did Ms. Granata, or the Debtor, seek to

 raise the issue that the Real Estate or the Land Contract was an asset of the Debtor until over five

 years after the State Court Case was terminated and over two years after the bankruptcy case was

 closed.

           Further, the Motion seeks to raise issues with regard to the scheduling of assets that took

 place over 12 years ago and with transactions that occurred and were approved in the State Court

 Case over 11 years ago. The Motion also seeks to revisit the same issues that were denied by

 this Court in the October 2013 Order.

           The claims raised in the Motion are barred by the doctrine of res judicata. A   claim    is

 barred by the doctrine of res judicata if the following elements are present: “(1) a final decision

 on the merits by a court of competent jurisdiction; (2) a subsequent action between the same

 parties or their ‘privies;’ (3) an issue in the subsequent action which was litigated or which

 should have been litigated in the prior action; and (4) an identity of the causes of action.”

 Bittinger v. Tecumseh Prods. Co., 123 F.3d 877, 880 (6th Cir. 1997).

           A final judgment on the merits bars further claims by parties or their privies based on the

 same causes of action. Montana v. United States, 440 U.S. 147 (1979). The doctrine of res

 judicata prevents litigation of all grounds for recovery or defenses that were previously available




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 to the parties, regardless of whether they were asserted or determined in the prior proceeding.

 Born v. Felsen, 442 U.S. 127 (1979). Id. at 787.

        Ms. Granata had an opportunity to litigate the issues relative to the Real Estate and the

 Land Contract in the State Court Case when she and her attorney were served with pleadings

 addressing the sale of the Real Estate, and again before this Court in 2013. The doctrine of res

 judicata prevents re-litigation of the very same issues and facts that were raised in 2013 and

 addressed by this Court and which could have been raised at any time in the State Court

 proceedings.

 III.   CONCLUSION

        Based upon the foregoing, it is respectfully requested that the Court issue an Order

 denying the Motion, and that the Court grant such other and further relief as is appropriate.

                                       Respectfully submitted,



                                          /s/ A. C. Strip
                                       A.C. Strip (0018262)
                                       Strip, Hoppers, Leithart, McGrath & Terlecky Co. LPA
                                       575 South Third Street
                                       Columbus, Ohio 43215
                                       (614) 228-6345 (telephone)
                                       (614) 228-6369 (facsimile)
                                       Email: acs@columbuslawyer.net
                                       Attorney for Reg Martin of Martin Management,
                                       Former Receiver for Columbus Microfilm, Inc.


                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 4, 2016, a true and accurate copy of the
 foregoing MEMORANDUM IN OPPOSITION TO MOTION TO RE-OPEN CASE TO
 ADMINISTER ESTATE ASSETS (DOC. 349) was served on the following registered ECF
 participants, electronically through the court’s ECF system, at the email address registered with
 the Court:



                                                    5
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 Asst US Trustee (Col)
 James C Carpenter
 Stewart H Cupps
 Steven L Diller
 Brian M Gianangeli
 Mark W Iannotta
 Nora E Jones
 Andree M Malek
 Larry J McClatchey
 Dennis J Morrison
 David M Whittaker

 And on the following by ordinary U.S. mail, postage prepaid, on the Debtor, the Trustee and all
 creditors and parties in interest as reflected on the attached mailing list, unless served through
 ECF.



                                                      /s/ A. C. Strip
                                                     A. C. Strip (0018262)




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                                                       Microfilm Inc.   Entered 04/04/16 ESS
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                                                                                             Staffing Resources, Inc.
0648-2                                           Document
                                             753 Harmon Ave         Page 13 of 16        c/o Nora E. Jones
Case 2:04-bk-60904                            Columbus, OH 43223-2411                      Gamble Hartshorn Johnson, LLC
Southern District of Ohio                                                                  One East Livingston Avenue
Columbus                                                                                   Columbus, OH 43215-5700
Sun Apr 3 12:55:04 EDT 2016
Excel Temporaries, Inc.                       Internal Revenue Service                     JPMorgan Chase Bank, NA
c/o Nora E. Jones                             Internal Revenue Service                     1111 Polaris Parkway
Gamble Hartshorn Johnson, LLC                 U.S. Attorney’s Office                       Mail Code OH1-0152
One East Livingston Avenue                    303 Marconi Boulevard, Suite 200             Columbus, OH 43240-2031
Columbus, OH 43215-5700                       Columbus, OH 43215-2326

Ohio Bureau of Workers’ Compensation          Ohio Mulch Supply, Inc.                      Unizan Bank, National Association
c/o Brian M. Gianangeli, Esq.                 c/o Laura M. Zaremski, Esq.                  c/o Dennis J. Morrison, Esq.
The Law Office of Charles Mifsud, LLC         100 South Third Street                       2006 Kenny Road
326 South HIgh Street                         Columbus, OH 43215-4214                      Columbus, OH 43221-3502
Suite 201
Columbus, OH 43215-4522
Weber Holdings Universal, Ltd.                AEP                                          AMERICAN EXPRESS
c/o David M. Whittaker, Esq.                  PO BOX 2021                                  11340 MONTGOMERY RD
100 South Third Street                        ROANOKE VA 24022-2121                        CINCINNATI OH 45249-2385
Columbus, OH 43215-4214


ANGELA R GRANATA                              Angela Granata                               Asst US Trustee (Col)
1922 NEW MARKET DRIVE                         c/o John E. Decker                           Office of the US Trustee
GROVE CITY OH 43123-1659                      4110 Indianola Avenue, Unit B                170 North High Street
                                              Columbus, Ohio 43214-2850                    Suite 200
                                                                                           Columbus, OH 43215-2417

BANK OF AMERICA                               BANK ONE                                     (p)CAPITAL ONE
11340 MONTGOMERY RD                           NATIONAL GEOGRAPHIC VISA                     PO BOX 30285
CINCINNATI OH 45249-2385                      PO BOX 94014                                 SALT LAKE CITY UT 84130-0285
                                              PALATINE IL 60094-4014


CITI BUSINESS CARD                            CITIGROUP CARD                               CITY OF COLUMBUS
PO BOX 6309                                   PO BOX 6062                                  DIVISION OF INCOME TAX
THE LAKES NV 88901-6309                       SIOUX FALLS SD 57117-6062                    50 W GAY ST 4TH FL
                                                                                           COLUMBUS OH 43215-9070


Capital Plumbing & Mechanical Inc             Celerity Networks LLC                        (p)COLUMBIA GAS
5721 Westbourne Ave                           3455 Mill Run Dr Suite 300                   290 W NATIONWIDE BLVD 5TH FL
Columbus OH 43213-1449                        Hilliard OH 43026-9082                       BANKRUPTCY DEPARTMENT
                                                                                           COLUMBUS OH 43215-4157


(p)US BANK                                    ESS STAFFING RESOUCES INC                    ESS STAFFING RESOURCES INC
PO BOX 5229                                   C/O NORA E JONES                             C/O NORA E JONES
CINCINNATI OH 45201-5229                      ONE E LIVINGSTON AVE                         ONE E LIVINGSTON AVE
                                              COLUMBUS OH 43215-7700                       COLUMBUS OH 43215-7700


EXCEL TEMPORARIES INC                         EXCEL TEMPORARY                              FIRST NATIONAL BANK OF OMAHA
C/O NORA E JONES                              550 E TOWN STREET                            PO BOX 2951
ONE E LIVINGSTON AVE                          COLUMBUS OH 43215-4802                       OMAHA NE 68103-2951
COLUMBUS OH 43215-7700
FIRST NATIONAL Case
               BANK OF 2:04-bk-60904
                       OMAHA                 Doc 351     FiledCARD
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OMAHA NE 68103-0351                               WILMINGTON DE 19850-7192                   COLUMBUS OH 43218-2108



INSURANCE OF CENTRAL OHIO                         (p)INTERNAL REVENUE SERVICE                Jan Pro of Columbus
165 W MAIN STREET                                 CENTRALIZED INSOLVENCY OPERATIONS          C/O Dana & Pariser Co LPA
NEW ALBANY OH 43054-9227                          PO BOX 7346                                800 E Broad St
                                                  PHILADELPHIA PA 19101-7346                 Columbus OH 43205-1015


John Decker                                       (p)OHIO BUREAU OF WORKERS COMPENSATION     Ohio Casualty Insurance Co.
3980 Shattuck                                     LAW SECTION BANKRUPTCY UNIT                c/o RMS Bankruptcy Recovery Services
Columbus, Ohio 43220-4172                         P O BOX 15567                              P.O. Box 5126
                                                  COLUMBUS OH 43215-0567                     Timonium, Maryland 21094-5126


Ohio Department of Job and Family Services        (p)OHIO DEPARTMENT OF TAXATION             PITNEY BOWES CREDIT CORPORATION
P.O. Box 182404                                   BANKRUPTCY DIVISION                        ATTN RECOVERY DEPT
Columbus, Ohio 43218-2404                         30 EAST BROAD STREET                       27 WATERVIEW DR
                                                  COLUMBUS OHIO 43215-3414                   SHELTON CT 06484-4361


REMEDY STAFFING                                   RICHARD CORDAY                             RONK BROTHERS
101 ENTERPRISE                                    FRANKLIN CTY TREASURER                     3756 AGLER RD
SUITE 100                                         373 S HIGH STREET                          COLUMBUS OH 43219-3605
ALISO VIEJO CA 92656-2604                         COLUMBUS OH 43215-6306


ROSE M GRANATA                                    Reg Martin                                 Roger Hummell
1922 NEW MARKET DRIVE                             c/o Mark W. Iannotta                       5176 Mapleridge Dr
GROVE CITY OH 43123-1659                          Strip Hoppers Leithart McGrath& Terlecky   Columbus OH 43232-2882
                                                  575 S. Third Street
                                                  Columbus, OH 43215-5755

SONITROL OF CENTRAL OHIO                          SOUTHLAND STORAGE                          Southland Self Storage, LLC
PO BOX 662                                        3391 S HIGH STREET                         c/o Brenda K. Bowers, Esq.
COLUMBUS OH 43216-0662                            COLUMBUS OH 43207-3624                     Vorys, Sater, Seymour and Pease LLP
                                                                                             52 East Gay Street, P.O. Box 1008
                                                                                             Columbus, OH 43216-1008

(p)SPRINT NEXTEL CORRESPONDENCE                   UNITED HEALTH INSURANCE                    UNITED HEALTHCARE INSURANCE CO
ATTN BANKRUPTCY DEPT                              4316 RICE LAKE RD                          450 COLUMBUS BLVD
PO BOX 7949                                       DULUTH MN 55811-4012                       PO BOX 150450
OVERLAND PARK KS 66207-0949                                                                  HARTFORD CT 06115-0450


UNITED STATES TRUSTEE                             UNIZAN BANK                                UNIZAN BANK
170 N HIGH STREET STE 200                         PO BOX 3510                                PO BOX 4658
COLUMBUS OH 43215-2417                            ZANESVILLE OH 43702-3510                   ZANESVILLE OH 43702



UNIZAN BANK NATIONAL ASSOCIATION                  US BANK ELAN                               US SOURCECORP
C/O DENNIS J MORRISON                             PO BOX 5229                                300 PRICE GEORGES BLVD
MEAN BICHIMER BURKHOLDER & BAKER                  CINCINNATI OH 45201-5229                   UPPER MARLBORO MD 20774-7409
2006 KENNY RD
COLUMBUS OH 43221-3502
              Case 2:04-bk-60904
United States Trustee                         Doc 351     Filed 04/04/16 Entered 04/04/16 Angela
                                                   Waste Management                       15:25:48
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                                                   2421 W Peoria Ave Suite 110 15 of 16   President of Columbus Microfilm, Inc.
                                                      Phoenix AZ 85029-4942                                1922 New Market Drive
                                                                                                           Grove City, OH 43123-1659


Grady L Pettigrew Jr.                                 John E Decker                                        John E. Decker
Law Office of Grady L. Pettigrew, Jr.                 3980 Shattuck                                        4110 Indianola Avenue, Unit B
502 South Third Street                                Columbus, Oh 43220-4172                              Columbus, Oh 43214-2850
Columbus, OH 43215-5702


Larry J McClatchey                                    Reg Martin
65 East State Street                                  Martin Management Services, Inc.
Suite 1800                                            180 East Broad Street
Columbus, OH 43215-4295                               28th Floor
                                                      Columbus, OH 43215-3707



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CAPITAL ONE                                           Columbia Gas of Ohio Inc                             ELAN FINANCIAL
PO BOX 85015                                          200 Civic Center Dr 11th                             PO BOX 108
RICHMOND VA 23285                                     Columbus OH 43215                                    ST LOUIS MO 63166-9801



INTERNAL REVENUE SERVICE                              (d)INTERNAL REVENUE SERVICE                          (d)INTERNAL REVENUE SERVICES
550 MAIN ST RM 3525                                   SPECIAL PROCEDURES BRANCH                            550 MAIN ST RM 3525
CINCINNATI OH 45201                                   PO BOX 1579                                          CINCINNATI OH 45201
                                                      CINCINNATI OH 45201


OHIO BUREAU OF WORKERS COMPENSATION                   (d)Ohio Bureau Of Workers Compensation               (d)Ohio Bureau of Workers Compensation
LEGAL OPERATIONS BANKRUPTCY UNIT                      PO Box 15567                                         Law Section Bankruptcy Unit
30 W SPRING ST                                        Columbus OH 43215                                    PO Box 15567
PO BOX 15567                                                                                               Columbus, OH 43215
COLUMBUS OH 43215

Ohio Department of Taxation                           Sprint-Nextel Corporation
30 E Broad St                                         Attn: Bankruptcy
Columbus OH 43215                                     PO Box 172408
                                                      Denver, CO 80217-2408




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Ohio Department of Job & Family Services           (u)Ohio Department of Taxation                       (u)The Huntington National Bank
(d)ESS StaffingCase   2:04-bk-60904
                Resources, Inc.                 Doc 351
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                                                               Temporaries, Inc. Entered 04/04/16 (u)OHIO
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c/o Nora E. Jones                                        Document
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Gamble Hartshorn Johnson, LLC                          Gamble Hartshorn Johnson, LLC
One East Livingston Avenue                             One East Livingston Avenue
Columbus, OH 43215-5700                                Columbus, OH 43215-5700

(u)United States Trustee, 170 N High St, Room          (u)Bradford Eldridge                           End of Label Matrix
                                                                                                      Mailable recipients   67
                                                                                                      Bypassed recipients    8
                                                                                                      Total                 75
